                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE




 D.H.,

                         Plaintiff,

                                                        Case No. 3:22-cv-00570
         v.                                             District Judge William L. Campbell, Jr.
                                                        Magistrate Judge Jeffery S. Frensley
 WILLIAMSON COUNTY
 BOARD OF EDUCATION, et al.,

                         Defendants.




                THE DEPARTMENT AND COMMISSIONER OF EDUCATION’S
                           MOTION TO STAY DISCOVERY



         Pursuant to this Court’s inherent authority to conserve “time and effort for itself, . . . coun-

sel, and . . . litigants.” Landis v. North Am. Co., 299 U.S. 248, 254 (1936), Defendant Tennessee

Department of Education and Defendant Penny Schwinn, in her official capacity as Commissioner

of the Department of Education, move for an order from this Court staying discovery until the

Court has resolved the pending motions for preliminary relief, D.E. 5, and dismissal, D.E. 46, D.E.

48. As the arguments and authorities set out in the accompanying Brief demonstrate, a discovery

stay is warranted because a resolution of the parties’ many legal disputes will “streamline litiga-

tion” by crystalizing the issues and “dispensing with needless . . . factfinding.” Neitzke v. Wil-

liams, 490 U.S. 319, 319 (1989). If discovery proceeds in the shadow of those disputes, it may

needlessly “exact[] heavy costs in terms of efficiency and expenditure of valuable time and


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resources that might otherwise be directed to the proper execution of the work of the Government.”

Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009). The Court should thus stay discovery until the pend-

ing substantive motions have been resolved.

       Pursuant to Local Rule 7.01, counsel for the Department and Commissioner has conferred

with all parties regarding the filing of this motion. Defendants Williamson County School Board

and its Director consent to the motion. Plaintiff D.H. opposes the motion.


 Dated: October 31, 2022                      Respectfully Submitted,

                                              JONATHAN SKRMETTI
                                               Tennessee Attorney General & Reporter

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                                               Tennessee Solicitor General

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                                              /s/ Alexander S. Rieger
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                                                and Commissioner of Education




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                                 CERTIFICATE OF SERVICE

       I certify that I filed the above document using the Court’s CM/ECF system on October 31,

2022, which electronically served a copy to all counsel of record, namely:

Adam S. Lurie
Ami Rakesh Patel
Jason Starr
Sean Mooney
Tricia Herzfeld
 Counsel for D.H.

Courtney M. King
Lisa M. Carson
 Counsel for the Williamson County
  Board of Education and
 Jason Golden in his official capacity as
  Director of the Williamson County Schools

James Matthew Rice
Alexander Stuart Rieger
Gabriel Krimm
 Counsel for the Tennessee
  Department of Education and
 Penny Schwinn in her official capacity as
  Commissioner of the Tennessee
  Department of Education

                                                 /s/ Alexander S. Rieger
                                                 Alexander S. Rieger




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